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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

 VICTOR ARIZA,

        Plaintiff,

 vs.

 OSME US, INC., a Florida for-profit
 corporation,

        Defendant.
  ________________________________/

                                            COMPLAINT

        Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant OSME US, INC.,

 a Florida for-profit corporation, and alleges as follows:

        1.      This is an action for declaratory and injunctive, attorney’s fees, costs, and litigation

 expenses for unlawful disability discrimination in violation of Title III of the Americans with

 Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36. This

 further is an action for declaratory and injuncrtive relief, attorney’s fees, costs, and litigation

 expenses for unlawful disability discrimination in violation of Section 504 of the Rehabilitation

 Act of 1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

        2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

 U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

 injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

        3.      Venue is proper in this Court as all actions complained of herein and injuries and

 damages suffered occurred in the Southern District of Florida.
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        4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

 and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

 (“ADAAA”). Plaintiff also is expressly authorized to bring this case under the Rehab Act, 29

 U.S.C. §§794(a)(2) and 794(b)(3)(A), and under Section 505-f the Rehab Act which enforces

 Section 504 of the Rehab Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies

 set forth in Title VI of the Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

        5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

 suffers from optical nerve atrophy, a permanent eye disease and medical condition that

 substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

 substantially limited in performing one or more major life activities, including, but not limited to,

 seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

 member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

 implementing the ADA set forth at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff

 is also an otherwise qualified individual with a disability who has been denied the benefits of a

 program or activity receiving federal financial assistance and is covered by the Rehab Act, 29

 U.S.C. §794(a). Plaintiff further is an advocate of the rights of similarly situated disabled persons

 and is a “tester” for the purposes of asserting his civil rights and monitoring, ensuring, and

 determining whether places of public accommodation and/or the recipients of federal financial

 assistance and/or their respective and associated websites are in compliance with the ADA, the

 Rehab Act, and any other applicable disability laws, regulations, and ordinances.

        6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

 appropriate and available screen reader software. Screen reader software translates the visual

 internet into an auditory equivalent. At a rapid pace, the software reads the content of a webpage



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 to the user. “The screen reading software uses auditory cues to allow a visually impaired user to

 effectively use websites. For example, when using the visual internet, a seeing user learns that a

 link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such as a

 change in the color of the text (often text is turned from black to blue). When the sighted user's

 cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

 software uses auditory—rather than visual—cues to relay this same information. When a sight

 impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

 and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

 read aloud by the screen reader, the visually impaired user can navigate a website by listening and

 responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

        7.      Defendant is a Florida for-profit corporation authorized to do business and doing

 business in the State of Florida. Defendant owns, operates, and/or controls a retail store selling

 perfume and other fragrance productslocated at 50 NW 24th Street, #111, Miami, Florida, which

 Plaintiff intended to patronize in the near future. Defendant also owns, leases, leases to, and/oor

 operates a business that is the recipient of federal financial assistance as a whole within the

 meaning of Rehab Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.

        8.      Plaintiff’s visual disability limits him in the performance of major life activities,

 including sight, and he requires assistive technologies, auxiliary aids and services for effective

 communication, including communication in connection with his use of a computer.

        9.      Plaintiff frequently accesses the internet. Because he is significantly and

 permanently blind, in order to effectively communicate and comprehend information available on




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 the internet and thereby access and comprehend websites, Plaintiff uses commercially available

 screen reader software to interface with the various websites.

          10.   At all times material hereto, Defendant was and still is an organization that owns,

 operates, and/or controls a retail store selling perfuems and frangrance products under the name

 “OSME Perfumery.” The OSME Perfurmery store is open to the public. As the owner and

 operator of this retail store, Defendant is defined as a place of “public accommodation" within

 meaning of the ADA because Defendant is a private entity which owns and/or operates “a bakery,

 grocery store, clothing store, hardware store, shopping center, or other sales or rental

 establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

          11.   Because Defendant is a store open to the public, it is a place of public

 accommodation subject to the requirements of the ADA, and its implementing regulations, 28

 C.F.R. Part 36.

          12.   Defendant     controls,   maintains,    and/or    operates   an   adjunct    website,

 https://www.osmeperfumery.com (the “Website”). One of the functions of the Website is to

 provide the public information on the location of Defendant’s store that sell its merchandise.

 Defendant also sells to the public its merchandise through the Website, which acts as a critical

 point of sale for the sale of Defendant’s merchandise available from, through, and in its of physical

 store.

          13.   The Website also services Defendant’s physical store by providing information on

 store location, available merchandise, tips and advice, editorials, sales campaigns, events, and

 other information that Defendant is interested in communicating to its customers.

          14.   Because the Website allows the public the ability to secure information about the

 location of Defendant’s physical store, purchase merchandise also available for purchase in and



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 from the physical store, purchase gift cards, and sign up for an emailer to receive exclusvie online

 offers, benefits, invitations, and discounts for use online and in the physical store, the Website is

 an extension of, and gateway to, the goods, services, privileges, and advantages of Defendant’s

 physical store. As a service, privilege, and advantage provided by a place of public accommodation

 as defined under the ADA, the Website is an extension of the goods, services, privileges, and

 advantages made available to the general public by Defendant at and through its brick-and-mortar

 location and businesses.      Furthermore, the Website is a necessary service and privilege of

 Defendant’s physical store in that, as a point of sale for Defendant’s store, it enables users of the

 Website to make online purchases of Defendant’s merchandise that is available in and from its

 physical store.

        15.        Because the public can view and purchase Defendant’s merchandise that is also

 offered for sale in and from Defendant’s physical store, thus acting as a point of sale for

 Defendant’s merchandise sold in the physical store, purchase gift cards, and sign up for an emailer

 to receive exclusive online offers, benefits, invitations, and discounts for use online and in the

 physical store, the Website is a necessary extension of, gateway to, and service, privilege, and

 advantage of the physical store, which is a place of public accommodation under the ADA, 42

 U.S.C. §12181(7)(E). As such, the Website is a necessary service, privilege, and advantage of

 Defendant’s brick-and-mortar store that must comply with all requirements of the ADA, must not

 discriminate against individuals with visual disabilities, and must not deny those individuals the

 same full and equal access to and enjoyment of the goods, services, privileges, and advantages

 afforded the non-visually disabled public both online and in the physical store.

        16.        At all times material hereto, Defendant was and still is an organization owning,

 operating, and/or controlling the Website. Since the Website is open to the public through the



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 internet and is connected to Defendant’s physical store as a point of sale for the purchase of

 merchandise and gift cards from it’s the physical store, and allows users to sign up for an emailer

 to receive exclusive online offers, benefits, invitations, and discounts for use online and in the

 physical store, the Website is a necessary service, privilege, and advantage of Defendant’s brick-

 and-mortar store that must comply with all requirements of the ADA, must not discriminate against

 individuals with visual disabilities, and must not deny those individuals the full and equal access

 to and enjoyment of the goods, services, privileges, and advantages afforded the non-visually

 disabled public both online and in the physical store. As such, Defendant has subjected itself and

 the Website to the requirements of the ADA. In addition, as a recipient of federal financial

 assistance to the company as a whole, Defendant has subjected itself and all of its operations,

 programs, and activities, including its Website, to the requirements, prohibitions, and anti-

 discrimination provisions of the Rehab Act.

        17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

 to patronize in the near future once the Website’s access barriers are removed or remedied,

 Defendant’s physical store, and to check store hours and merchandise pricing, purchase

 merchandise and gift cards, and sign up for an emailer to receive exclusive offers, benefits,

 invitations, and discounts for use at the Website or in Defendant’s physical store. In the alternative,

 Plaintiff intends to monitor the Website in the near future as a tester to ascertain whether it has

 been updated to interact properly with screen reader software.

        18.     The opportunity to shop and pre-shop Defendant’s merchandise offered for sale in

 the physical store, purchase gift cards online, and sign up for an emailer to receive exclusiveoffers,

 benefits, exclusive invitations, and discounts for use online and in the physical store from his home

 are important accommodations for Plaintiff because traveling outside of his home as a physically



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 and visually disabled individual is often a difficult, hazardous, frightening, frustrating and

 confusing experience. Defendant has not provided its business information in any alternative

 digital format that is accessible for use by blind and visually disabled individuals using screen

 reader software while using the internet.

        19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

 merchandise, prices, services, sales, discounts, and promotions. Plaintiff may look at several

 dozens of sites to compare features, discounts, promotions, and prices.

        20.     Beginning in March 2022, Plaintiff attempted on a number of occasions to utilize

 the Website to browse through the merchandise and online offers to educate himself as to the

 merchandise, sales, discounts, and promotions being offered, and with the intent to make a

 purchase through the Website or at Defendant’s store. Plaintiff also attempted to access and utilize

 the Website in his capacity as a tester to determine whether it was accessible to blind and visually

 disabled persons such as himself who use screen reader software to access and navigate company

 websites.

        21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

 visually disabled to communicate with websites. However, Defendant’s Website contains access

 barriers that prevent free and full use by blind and visually disabled individuals using keyboards

 and available screen reader software. These barriers are pervasive and include, but are not limited

 to:

                a. The telephone number and the hours of operation provided at the header of the
                   website lack proper descriptions;

                b. The search button is inaccessible;

                c. Shopping cart is mislabeled as “zero”;

                d. While browsing for products, the quick view button is mislabeled as “link”;


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                e. Once Select Options is selected, the product’s text information, price, and size
                are inaccessible;

                f. The notification that an item has been added to the shopping cart is not labeled;

                g. Inside the shopping cart, the item’s price and total price are inaccessible; also,
                the “X” button to remove an item from the shopping cart is mislabeled as “cap M,
                column 5 of 5, scan” with no other description;

                h. At the footer of the website the social media buttons are mislabeled as “link”;
                and

                i. On the Contact information, at the footer of the website, the store address and
                hours of operation are inaccessible, and the telephone number lacks a proper
                description.

        22.     The Website also lacks prompting information and accommodations necessary to

 allow blind and visually disabled individuals who use screen reader software to locate and

 accurately fill out online forms to purchase Defendant’s merchandise from the Website.

        23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

 Website that would direct him to a webpage with contact information for disabled individuals who

 have questions or concerns about, or who are having difficulties communicating with, the Website.

 However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

 on the Website.

        24.     The fact that Plaintiff could not communicate with or within the Website left him

 feeling excluded, as he is unable to participate in the same online and in-store shopping experience,

 with the same access to the merchandise, sales, discounts, and promotions, as provided at the

 Website and in the physical store as the non-visually disabled public.

        25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

 are removed or remedied, to patronize Defendant’s physical store and to use the Website as an

 extension, service, privilege, and advantage of the physical store, but he is presently unable to fully



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 do so, as he is unable to effectively communicate with Defendant’s physical store due to his severe

 blindness and the Website’s access barriers. Alternatively, as a tester using screen reader software,

 Plaintiff is unable to effectively access, navigate, and communicate with Defendant through the

 Website due to his severe blindness and the Website’s access barriers. Thus, Plaintiff, and others

 who are blind and visually disabled, will suffer continuous and ongoing harm from Defendant’s

 intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

 this Court.

         26.     Because the Website clearly provides support for and is connected to Defendant’s

 retail store for its goods, services, operation, and use, and is a necessary service, privilege,

 advantage, and accommodation of Defendant’s brick-and-mortar store for the purchase of

 Defendant’s merchandise, the Website must comply with all requirements of the ADA, must not

 discriminate against individuals with disabilities, and must not deny those individuals the same

 full and equal access to and enjoyment of the goods, services, privileges, and advantages afforded

 the non-visually disabled public both online and in the physical store, which is a place of public

 accommodation subject to the requirements of the ADA.

         27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

 to ensure full and equal use of the Website by individuals with disabilities.

         28.     On information and belief, Defendant has not instituted a Web Accessibility

 Committee to ensure full and equal use of Website by individuals with disabilities.

         29.     On information and belief, Defendant has not designated an employee as a Web

 Accessibility Coordinator to ensure full and equal use of the Website by individuals with

 disabilities.




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          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled and blind communities.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website and in the physical

  store from their homes.

          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, accommodations, programs and activities




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  provided by and through the Website and the physical store in contravention of the ADA and the

  Rehab Act.

         39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

  public accommodations and companies that receive federal financial assistance must not

  discriminate against disabled persons and are required to make the facilities, programs, or activites

  they operate fully and readily accessible to persons with disabilities.

         40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites such as the Website. In addition, Congress

  enacted the Rehab Act to enforce the policy of the United States that all programs, projects and

  activities receiving federal assistance " ... be carried out in a manner consistent with the principles

  of ... inclusion, integration and full participation of the individuals [with disabilities]." 29 U.S.C.

  §701(c)(3).

         41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

         42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.




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         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

  has agreed to pay them a reasonable fee for their services.

                             COUNT I – VIOLATION OF THE ADA

         48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA and thus is subject to the requirements of the ADA.

         50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s

  physical store, acts as a point of sale for Defendant’s physical store by allowing users to purchase

  merchandise that is also available for purchase in and from the physical store, purchase gift cards

  for use online and in the physical store, and sign up for an emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use both online and in the physical store. The

  Website thus is an extension of, gateway to, and necessary service, privilege, and advantage of

  Defendant’s physical. Further, the Website also serves to augment Defendant’s physical store by

  providing the public information on the location of the store and by educating the public as to



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  Defendant’s available products sold through the Website and in the physical store. The Website

  thus is necessary for Plaintiff to fully enjoy and have access to all of the goods, services, privileges,

  and advantages being offered by Defendant both online and in its physical store.

          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

          54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.




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         55.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to and enjoyment of the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical store in violation of

  42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

         56.     The Website was subsequently visited by Plaintiff’s expert in Apri 2022, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed.        Defendant thus has made insufficient

  material changes or improvements to the Website to enable its full use and enjoyment by, and

  accessibility to, blind and visually disabled persons such as Plaintiff. Defendant also has not

  disclosed to the public any intended audits, changes, or lawsuits to correct the inaccessibility of

  the Website to visually disabled individuals, nor has it posted on the Website an effective

  “accessibility” notice, statement, or policy to provide blind and visually disabled person such as

  Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

  failed to make reasonable modifications in its policies, practices, or procedures when such

  modifications are necessary to afford goods, services, facilities, privileges, advantages, or

  accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

  viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

  as alleged herein and as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

  hereto as Composite Exhibit “B” and the contents of which are incorporated herein by reference,

  continue to render the Website not fully accessible to users who are blind and visually disabled,

  including Plaintiff.

         57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.



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          58.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          59.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

          60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website, and hjence its connected physical store, by individuals, such as Plaintiff,

  with visual disabilities who require the assistance of interface with screen reader software to

  comprehend and access internet websites. These violations within the Website are ongoing.

          61.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

          62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided



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  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         65.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         66.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is an extension, service, privilege, and advantage of, and point of sale for,

  Defendant’s brick-and-mortar store, Plaintiff has suffered an injury in fact by being denied full

  communication with, access to, and enjoyment of Defendant’s physical store.

         67.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief; including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with visual disabilities have full and equal access to and

  enjoyment of the goods, services, facilities, privileges, advantages, and accommodations offered

  in Defendant’s physical store through the Website.



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         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical store and becoming informed of and purchasing

  Defendant’s merchandise online, and during that time period prior to the Website’s being designed

  to permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical store.

         69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and




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           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop




  1
                    or similar.

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                  programs or code for, or who publish final content to, the Website on how to conform

                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

  herein.

            71.      As more specifically set forth above, Defendant has violated the Rehab Act by

  failing to interface the Website with software utilized by visually impaired individuals. Thus,

  Defendant has violated the Rehab Act either directly or through contractual, licensing or other




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  arrangements with respect to Plaintiff and other similarly situated individuals solely by reason of

  their disability, based on the following:

          a)      By excluding Plaintiff from participation in and denying him the benefits of or

  subjecting him to discrimination under any program or activity receiving federal financial

  assistance as a whole, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects, and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. Section 701 (c)(3);

          c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

  the Rehab Act which prohibits discrimination against qualified or otherwise qualified individuals

  in all of the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

  discriminating against disabled persons and requires that facilities, programs, or activities operated

  by a federally funded entity be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship which receives

  federal financial assistance as a whole. Defendant's Website and its content is a "program or

  activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

          f)      Plaintiff was denied access to Defendant's Website solely by reason of his

  disability. This denial of access to Defendant's "program or activity" subjected Plaintiff to

  discrimination, excluded Plaintiff from participation in the program or activity, and denied




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  Plaintiff the benefits of the Website, a service available to those persons who are not blind. As of

  this filing, the Website remains inaccessible to qualified or otherwise qualified persons;

         g)      The international website standards organization, WC3, has published widely-

  accepted guidelines ("WCAG 2.0” and "WCAG 2.1") for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal Courts and the United States Access Board; and,

         h)      Defendant has engaged in unlawful practices in violation of the Rehab Act since it

  launched the Website. These practices include, but are not limited to, denying Plaintiff, an

  individual with a disability who, with or without reasonable modifications to the rules, policies, or

  practices, the removal of communication barriers, or the provision of auxiliary aids and services,

  meets the essential eligibility requirements for the receipt of services to participate in programs or

  activities provided by Defendant.

         72.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

  of the inaccessible features of its Website and has failed to remediate the Website to make it

  equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

  protected right was substantially likely, yet and it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief, a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate

  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

         73.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store but

  before he goes to the store, he would like to determine what is available for his purchasing, what



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  promotions are being offered, and what new items are currently available. In that regard, Plaintiff

  continues to attempt to utilize the Website and/or plans to continue to attempt to utilize the Website

  on a regular basis to make selections for purchasing online or in the store.

         74.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

         75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant's Website. By continuing to operate

  the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

  and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of -Defendant's

  programs and activities available to the general public. By encountering the discriminatory

  conditions at the Website and knowing that it would be a futile gesture to attempt to utilize the

  Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same store or the Website readily available

  to the general public and is deterred and discouraged from doing so. By maintaining a website

  with access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

  participation in and benefits of, its programs and activities as the non-visually disabled public.

         76.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

         77.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to



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  discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the

  Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

  compliance with the Rehab Act so that he and others similarly situated will have full and equal

  enjoyment of the Website without fear of discrimination.

          78.     The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury, and damage without the immediate relief provided by the Rehab Act as

  requested herein.

          79.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

          80.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

  794a.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

  the subject lawsuit is in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

  monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

  with visual disabilities;




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         D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

  to, and useable by, individuals with visual disabilities to the full extent required by the

  Rehabilitation Act;

         E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

  procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

  undertake and complete corrective and remedial procedures;

         F.      Issuance of an Order directing Defendant to continually update and maintain its

  Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

         G.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

  U.S.C. §794a; and

         H.      Award such other relief as the Court deems just and proper, and/or is allowable

  under the Rehabilitation Act.

         DATED: June 15, 2022


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